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                                             STATE OF NEW YORK
                                      OFFICE OF THE ATTORNEY GENERAL
    LETITIA JAMES                                                                                     DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                             LITIGATION BUREAU

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                                                        January 12, 2022
    By ECF
    Hon. Ona T. Wang
    United States Magistrate Judge
    United States Courthouse
    500 Pearl Street
    New York, New York 10007

                       Re:       Jane Smith v. Annucci, et al.,
                                 21-CV-01715 (RA)(OTW) [rel. 17-CV-07954 (RA)(OTW)]

    Your Honor:

             I write, respectfully, on behalf of both plaintiffs and defendants, pursuant to the Court’s
    December 16, 2021 Order (ECF No. 120) to provide a joint status report and to propose an agenda
    for the January 18, 2022 conference with the Court.

    Defendants’ Position

            I have been advised by the New York State Department of Corrections and Community
    Supervision’s (“DOCCS”) Office of Special Investigation (“OSI”) that it has completed its
    investigation into the allegations raised by plaintiffs in this case and it has concluded that it cannot
    substantiate those allegations. As a result, the Office of the Attorney General (“OAG”) will be able
    to represent the defendants in this matter. Defendants request that they have until March 14, 2022
    to respond to the Amended Complaint (“Complaint”). This time is needed for me to speak to the
    approximately fourteen defendants that I now represent and to prepare a response to the Complaint
    on their behalf. 1

             Agenda for Conference

             In terms of discovery since the last joint status letter, dated December 13, 2021 (ECF No.

    1
     Plaintiffs have also sued an additional defendant, “FNU Phillips.” DOCCS’ Counsel’s Office is attempting to identify
    this individual.

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118), I have forwarded to opposing counsel a copy of each plaintiffs’ “Central Office” file
maintained by DOCCS. I have also been provided by DOCCS a number of OSI files that I am in
the process of reviewing. I will contact plaintiffs once I have completed my review.

        In terms of an agenda for the January 18, 2022 conference, I believe that two issues need
to be resolved.

        First, as set forth more fully in the parties’ joint letter to the Court, dated November 19,
2021 (ECF No. 111), OSI has provided me with documents involving allegations of wrongdoing
by Bedford Hills Correctional Facility (“BHCF”) staff having nothing to do with sexual assault.
In addition, OSI has provided me with other documents involving allegations of wrongdoing by
BHCF staff dealing with sexual assaults involving incarcerated individuals other than plaintiffs.
In producing these materials to opposing counsel, I redacted the names of incarcerated individuals
and incarcerated individual-witnesses either having nothing to do with sexual assaults or involving
allegations of sexual assault having nothing to do with the plaintiffs. The justification for redacting
the materials is that: (i) the names at issue are neither responsive nor relevant to the allegations in
this case; (ii) there is a concern that if incarcerated individuals find out that their identities are
being made known as part of lawsuits not involving them, even with a stipulation of confidentiality
in place, they will be reluctant to report allegations of wrongdoing in the future; and (iii) the
privacy rights of non-party individuals.

       Second, in their first request for the production of documents, plaintiffs requested the
following:

       45.    For each of Defendants Captain A, Captain B, Lieutenant A, Sergeant A,
       Sergeant B, Officer A, Officer B, Officer C, Officer D and Officer E, all Documents
       from his or her initial date of employment with DOCCS to the present concerning
       records of screening tests; psychological tests; pre-service and in-service training;
       job performance and other evaluations; complaints to police; arrests; convictions;
       information regarding issues of physical or sexual abuse; treatment for domestic
       violence, alcoholism or drug abuse; orders or judgments issued by any court; and
       complaints or reports of, investigations into and determinations of misconduct by
       them, including but not limited to Sexual Misconduct or any charges brought or
       Sanctions imposed for any violations of any DOCCS rule.

I believe that, at a minimum, the documents responsive to this request will include the file
containing the respective defendants’ application documents for employment with DOCCS as well
their personnel files. To date, I have received from DOCCS application documents pertaining to
a number of the defendants referenced in the request. I am still waiting for copies of the personnel
files. The application documents are essentially divided into two sections. The first deals with
background information such as past addresses, past employment, past schooling, past arrests, etc.
The second section deals with psychological testing each applicant underwent to obtain
employment with DOCCS and contains a psychological assessment of the applicants. This file
also has sections dealing with things such as education/training, employment history, driving
record, legal history, financial record, information pertaining to substance abuse issues, aggression

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level, and mental health issues. I have withheld production of these materials because they are not
relevant to the allegations in this case and because of HIPAA concerns.

        According to plaintiffs, DOCCS staff have created a policy/custom encouraging or not
preventing the sexual assault of female incarcerated individuals. In particular, at BHCF, staff,
including the defendants herein, have been able to sexually assault female incarcerated individuals
based on things such as the lack of surprise supervisory rounds, knowledge of locations throughout
the facility lacking cameras, and the fact that male officers are assigned to supervise female
incarcerated individuals one-to-one in isolated areas. See generally Amended Complaint. Plaintiffs
also allege that certain of the defendants were notorious for having had sexual relationships with
other inmates. See Amended Complaint, ¶¶ 63 and 70. Based on these allegations, what is
“responsive and relevant” in this case is information pertaining to other acts of sexual assault at
Bedford Hills, such as the identity of the officers alleged to have committed the sexual assaults,
where in the facility the assaults took place, the frequency of supervisory rounds, and DOCCS’
response to those allegations of sexual assault. What is not relevant to the allegations in the
Amended Complaint are things such as a defendant’s educational history, employment history, or
home address history. Moreover, none of the allegations in the Amended Complaint address the
mental health of any of the defendants or purport that any of the defendants have a mental health
issue making it more likely that they will sexually assault female incarcerated individuals. In
addition, mental health information pertaining to the defendants is protected by HIPAA.

       I have suggested to opposing counsel that I produce to the Court for its in camera inspection
a copy of one of the files. Opposing counsel rejected this suggestion on the basis that it is improper
to withhold these files. Defendants believe that it would benefit the Court’s analysis of these
discovery issues to see what is in the files at issue. Therefore, defendants respectfully request
permission to submit to the Court one of the files for in camera review.

Plaintiffs’ Position and Proposed Agenda

              Plaintiffs respectfully respond to Defendants’ position above and propose the
following agenda for the status conference.

   1. Pace of Defendants’ Document Productions

                Since the last joint status letter (ECF No. 117) to the Court in which Plaintiffs
expressed concern about the pace at which Defendants are producing documents, Defendants
have produced only each Plaintiff’s “Central Office” file. For the past five months, Defendants
have failed to make any significant production of documents in response to Plaintiffs’ July 30,
2021 document requests. Furthermore, Defendants have produced no documents responsive to
five of the 10 priority RFPs Plaintiffs identified. This includes documents identifying the non-
supervisory Defendants’ regular assignments or posts from January 2019 to December 2019;
documents indicating the presence of officers or supervisors on specific dates and in specific
locations relevant to the incidents alleged in the Complaint; and floor plans reflecting the layout
of specific locations relevant to the incidents alleged in the Complaint and the placement of
cameras in those locations.


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   2. Defendants’ Time to Respond to Amended Complaint

           Defendants request that they have until March 14, 2022 to respond to the
Amended Complaint. Plaintiffs have no objection.

   3. Redaction of Inmates’ Names

               We hope to meet and confer with Defendants’ counsel before the status
conference. We intend to propose a compromise to Defendants and hope we can reach an
agreement that addresses Defendants’ concerns with respect to the privacy of other sexual assault
victims at Bedford Hills Correctional Facility.

   4. Withholding Production of Documents Responsive to RFP 45

               Defendants have informed Plaintiffs that they will not produce DOCCS job
application documents responsive to RFP 45 based on relevance grounds and HIPAA concerns.
Neither is an appropriate basis on which to withhold these documents.

                As to relevance, any information related to past arrests, education/training,
employment history, legal history, substance abuse issues, aggression level and mental health
issues are plainly relevant to Plaintiffs’ claims. See Cameron v. Menard, No. 5:18-cv-204, 2021
WL 2805603, at *5 (D. Vt. July 6, 2021) (“Courts have permitted discovery of correctional
officers’ personnel files, and records of complaints against correctional officers, in civil rights
cases, when the discovery is sought from correctional officers who were named as defendants in
the case and who were alleged to have been directly involved in the relevant altercation, or to
have had information about that altercation before it occurred.”); Smith v. Goord, 222 F.R.D.
238, 242 (N.D.N.Y. 2004) (declining to conduct an in camera review of defendants’ personnel
files and stating that “such an inspection by the court should not be routinely conducted, and is
no substitute to full disclosure to, and review of the disputed materials by, a litigant’s counsel,
who is best positioned to know the party’s strategy and assess the relevance vel non of the
information contained within the disputed materials”). If the application materials reveal
indications of violent or abusive behavior, that would be relevant to Plaintiffs’ claim that
DOCCS supervisors have not implemented adequate policies, procedures and controls to
mitigate the risk of sexual assault and that the supervisory Defendants “were deliberately
indifferent to the serious risk of sexual violence and harassment of female inmates at the hands
of correction officers at BHCF”. (Am. Compl. ¶ 210.)

                As to restrictions under HIPAA, “[t]he HIPAA regulations permit covered health
care providers to disclose protected health information pursuant to court order and subpoena.
Specifically, such a disclosure may be made ‘in the course of any judicial . . . proceeding: . . . In
response to a subpoena, discovery request, or other lawful process, that is not accompanied by an
order of a court or administrative tribunal, if’ certain conditions, principally concerning notice to
the affected person, are met.” Sforza v. City of New York, No. 07 CIV 6122(DLC), 2008 WL
4701313, at *2 (S.D.N.Y. Oct. 24, 2008) (citing 45 C.F.R. § 164.512(e)(1)).



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               Therefore, Defendants’ have no bases on which to withhold the job application
materials responsive to RFP 45.


                                                                           Respectfully submitted,


                                                                           /s/ Neil Shevlin
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                                                                           /s/ David M. Stuart
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VIA CM/ECF




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